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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v
                                              Case No. 13-CR-20373-3
PERRY SOLOMON DENDY, JR.,                     HON. MARK A. GOLDSMITH

          Defendant.
______________________________/

       ORDER ADOPTING REPORT AND RECOMMENDATION,
         ACCEPTING DEFENDANT’S PLEA OF GUILTY AND
    TAKING THE RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

      A plea hearing was conducted in this case before United States Magistrate

Judge Michael J. Hluchaniuk pursuant to the defendant’s consent.                Judge

Hluchaniuk issued a report, recommending acceptance of defendant’s guilty plea.

Either party may serve and file written objections “[w]ithin fourteen days after

being served with a copy” of the report and recommendations.             28 U.S.C. §

636(b)(1). The district court will make a “de novo determination of those portions

of the report…to which objection is made.” Id. Where, as here, neither party

objects to this report, the district court is not obligated to independently review the

record. Thomas v Arn, 474 U.S. 140, 149-52 (1985). This Court has received the
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report and finds its conclusions and Judge Hluchaniuk’s recommendation to be

reasonable.

      Accordingly, it is ORDERED that Judge Hluchaniuk’s Report and

Recommendation [DE #61] is ADOPTED.

      It is further ORDERED that the defendant’s guilty plea is ACCEPTED, and

the Rule 11 Plea Agreement [DE #62] is TAKEN UNDER ADVISEMENT.



Dated: November 19, 2013                     s/Mark A. Goldsmith
       Flint, Michigan                       MARK A. GOLDSMITH
                                             United States District Judge


                         CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon
counsel of record and any unrepresented parties via the Court=s ECF System to
their respective email or First Class U.S. mail addresses disclosed on the Notice of
Electronic Filing on November 19, 2013.

                                             s/Deborah J. Goltz
                                             DEBORAH J. GOLTZ
                                             Case Manager
